Case 1:15-cv-07025-RMB-JS Document 800 Filed 09/26/19 Page 1 of 3 PageID: 44013



                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY
                          CAMDEN VICINAGE

                                             )
 EAGLE VIEW TECHNOLOGIES,                    )   Civil Action No.: l:15-cv-07025
 INC., and PICTOMETRY                        )              (RMB-JS)
 INTERNATIONAL CORP.,                        )
                                                   RESTRAINING ORDER
                 Plaintiffs,                 )
                                             )
          v.                                 )
                                             )
 XACTWARE SOLUTIONS, INC. and)
 VERISK ANALYTICS, INC.,     )
                                             )
                 Defendants.                 )

       IT IS HEREBY ORDERED THAT Defendants, Xactware Solutions, Inc.

 and Verisk Analytics, Inc., their officers, agents, servants, employees, and

 attorneys, and those persons in active concert or participation with them who

 receive actual notice of the order by personal service or otherwise (hereafter

 “Defendants”) are temporarily restrained and enjoined from performing the

 following actions through and including October 8, 2019:

    1. making, offering to sell, selling, importing, andlor using a) Xactimate in

       combination with Aerial Sketch version 2; and/or b) Xactimate in

       combination with Property Insight or Roof Insight, and the Mass Production

       Tool; and any products made by these processes, including Property

       Insight, Roof Insight,

                                         1
Case 1:15-cv-07025-RMB-JS Document 800 Filed 09/26/19 Page 2 of 3 PageID: 44014



       Geonmi Roof and Geomni Property;

    2. instructing or encouraging anyone to make, offer to sell, sell, import, and/or

       use a) Xactimate in combination with Aerial Sketch version 2; and/or b)

       Xactimate in combination with Property Insight or Roof Insight, and the Mass

       Production Tool; and any products made by these processes, including

       Property Insight, Roof Insight, Geomni Roof, and Geomni Property;

    3. supplying or causing to be supplied in or from the United States all or a

       substantial portion of the components of a) Xactimate in combination with

       Aerial Sketch version 2; and/or b) Xactimate in combination with Property

       Insight or Roof Insight, or any products made by these products, including

       Property Insight, Roof Insight, Geomni Roof, and Geomni Property, and

       including the Mass Production Tool; and

    4. importing into the United States, or offering to sell, sell, or using within the

       United States, Property Insight, Roof Insight, Geomni Roof, Geomni

       Property;

except that notwithstanding the above, Defendants may continue to process

Property Insight, Roof Insight, Geomni Roof, and Geomni Property orders placed

on or before September 25, 2019, and similarly, no restriction is placed on Property

Insight, Roof Insight, Geomni Roof, and Geomni Property reports that had already

been generated and distributed by Defendants on or before September 25, 2019; and

      IT IS FURTHER ORDERED that a hearing on issuance of a permanent
                                           2
Case 1:15-cv-07025-RMB-JS Document 800 Filed 09/26/19 Page 3 of 3 PageID: 44015



 injunction shall be held in Courtroom 3D on October 8, 2019 at 9:00 a.m.;

 Plaintiff’s papers in support of its permanent injunction application shall be filed on

 or before October 2, 2019 at noon; Defendants’ papers in opposition to the

 application shall be filed on or before October 7, 2019 at 10:00 a.m.

      SO ORDERED on this       26th
                                      day of September, 2019,



Time:_________

                                                Renée Marie Bumb
                                                United States District Judge




                                            3
